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              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT
                                                                            United States Court of Appeals
                                                                                     Fifth Circuit

                                       No. 17-40986                                FILED
                                     Summary Calendar                        August 31, 2018
                                                                              Lyle W. Cayce
                                                                                   Clerk
   UNITED STATES OF AMERICA,

                                                    Plaintiff-Appellee

   v.

   ALEJANDRO CASILLAS PRIETO, also known as Alex,

                                                    Defendant-Appellant


                      Appeal from the United States District Court
                           for the Eastern District of Texas
                                USDC No. 4:10-CR-169-1


   Before HIGGINBOTHAM, GRAVES, and DUNCAN, Circuit Judges.
   PER CURIAM: *
          Alejandro Casillas Prieto, federal prisoner # 18154-078, appeals the
   district court’s denial of his 18 U.S.C. § 3582(c)(2) motion to reduce his life
   sentence on his jury trial conviction for conspiracy to possess with intent to
   manufacture and distribute 500 grams or more of a mixture or substance
   containing a detectable amount of methamphetamine or 50 grams or more of
   methamphetamine (actual). Casillas Prieto sought relief under Amendment


          * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
   be published and is not precedent except under the limited circumstances set forth in 5TH
   CIR. R. 47.5.4.
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                                    No. 17-40986

   782 to the Sentencing Guidelines, which modified the drug quantity table set
   out in U.S.S.G. § 2D1.1(c) and effectively lowered most drug-related base
   offense levels by two levels.
         When considering a reduction under § 3582(c)(2), a district court must
   substitute the retroactive amendment “for the corresponding guideline
   provisions” while leaving “all other guideline application decisions unaffected.”
   U.S.S.G. § 1B1.10(b)(1), p.s.; see Dillon v. United States, 560 U.S. 817, 827
   (2010). The district court correctly determined that the revised total offense
   level for Casillas Prieto’s drug trafficking conviction was 43. Amendment 782
   consequently results in no change in Casillas Prieto’s drug trafficking sentence
   because, even factoring in the amendment’s reduction of the base offense level,
   Casillas Prieto has a total offense level that corresponds to a guidelines range
   of life imprisonment, i.e., the guidelines range that applied at the time of the
   initial sentencing. The district court therefore did not abuse its discretion in
   denying the § 3582(c)(2) motion. See United States v. Henderson, 636 F.3d 713,
   717 (5th Cir. 2011).
         Accordingly, the district court’s judgment is AFFIRMED.             Casillas
   Prieto’s motion for leave to file a reply brief out of time is GRANTED.




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